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DOUGLAS RICHARDsoN, »» »- . y
Plaintiff, '* ' ..:
V' Civil Accion No. 04-2627-Bv
GLAXOSMITHKLINE,
Defendant.

 

ORDER GRANTING SECOND MOTION TO
MODIFYING THE SCHEDULING ORDER

 

Upon plaintiffs second motion to modify the scheduling order, and for good
cause shown,

IT APPEARS TO THE COURT that plaintiff should be allowed an extension of
time from July 8, 2005 , to August 15, 2005, to file his expert witness disclosures in this
case, and that defendant should be allowed an identical extension for disclosure of its
experts.

IT IS THEREFORE ORDERED that the modified scheduling order entered by
the Court on April 22, 2005, is hereby modified a second time to change the deadline
within which plaintiff must file his expert witness disclosures from July 8, 2005 to
August 15, 2005, the deadline within which defendant must file its expert Witness
disclosures to October 24, 2005, necessitating an extension for the defendant’s experts

discovery depositions deadline to November 4, 2005.

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with Rule 58 and/or YQ{a) FRCP on M g (/

Case 2:04-cv-02627-.]DB-dkv Document 24 Filed 07/11/05 Page 2 of 3 Page|D 32

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Honorable J. Breen
US DISTRICT COURT

